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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   MARC C. AMENT, Bar #59080
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, California 93721-2226
     Telephone: (559) 487-5561
 5
     Attorney for Defendant
 6   SAMUEL ALVAREZ-CRUZ
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )                    NO. 1:06-CR-0146 LJO
                                     )
12                  Plaintiff,       )                    STIPULATION TO CONTINUE STATUS
                                     )                    CONFERENCE HEARING, AND [PROPOSED]
13         v.                        )                    ORDER THEREON
                                     )
14   SAMUEL ALVAREZ-CRUZ,            )                    Date: March 23, 2007
      Aka: SAMUEL ALVAREZ-RODRIGUEZ, )                    Time: 9:00 a.m.
15                                   )                    Judge: Honorable Lawrence J. O’Neill
                                     )
16                  Defendant.       )
17
18                                                 STIPULATION
19          It is hereby stipulated by and between the parties hereto that the status conference hearing in the
20   above- entitled matter now set for March 2, 2007, may be continued to March 23, 2007, at 9:00 a.m.
21          The reason for this continuance is to allow counsel additional time for defense preparation and case
22   settlement negotiations; a draft pre-plea advisory guideline presentence investigation report was made
23   available February 2, 2007. The defense anticipates an offer of reduction pursuant to U.S.S.G. § 5K3.1.
24          The parties agree that time shall be excluded pursuant to 18 U.S.C. §§ 3161, subd.(h)(8)(A) and
25   (B) in that the ends of justice served by the continuance outweigh the best interest of the public and the
26   ///
27   ///
28   ///
                  Case 1:06-cr-00126-DAD Document 51 Filed 02/27/07 Page 2 of 2


 1   defendant in a speedy trial, since the failure to grant such a continuance would deny counsel for the
 2   defendant the reasonable time necessary for effective preparation, taking into account the exercise of due
 3   diligence.
 4                                                                  McGREGOR W. SCOTT
                                                                    United States Attorney
 5
 6   DATED: February 26, 2007                               By:     /s/ Steve M. Crass
                                                                    STEVE M. CRASS
 7                                                                  Assistant U.S. Attorney
                                                                    Attorney for Plaintiff
 8
 9                                                                  DANIEL J. BRODERICK
                                                                    Federal Defender
10
11   DATED: February 26, 2007                               By:     /s/ Marc C. Ament
                                                                    MARC C. AMENT
12                                                                  Assistant Federal Defender
                                                                    Attorney for Defendant
13                                                                  SAMUEL ALVAREZ-CRUZ
14
15
16                                                      ORDER
17            IT IS SO ORDERED. Time is excluded pursuant to 18 U.S.C. § 3161, subd. (h)(8)(A) and (B).
18   For the reasons stated above, the court finds that the ends of justice served by the delay outweigh the best
19   interest of the public and the defendants in a speedy trial.
20
     IT IS SO ORDERED.
21
     Dated:       February 26, 2007                      /s/ Lawrence J. O'Neill
22   b9ed48                                          UNITED STATES DISTRICT JUDGE
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     Stipulation and Proposed Order - Alvarez-Cruz          2
